                                                            Case 1:21-mj-00131-ZMF Document 5 Filed 01/26/21 Page 1 of 27

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                                                                      UNITED STATES DISTRICT COURT
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                                                                                               District   or Clllul11bia
                                       United 'talL'S or America
                                                              \' .

                                                                                                                      Case          o.   1:21-Mj-00131
                                            Ancln:\\ C. Ericson




                                                                                            ARREST WARRANT

To:                   ,\11\ authorized liI\\' enforcement oi'licer


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.,        Prohation Violation Petitil)n                                    ::J   SlIP,'1"\iscd Release' Viul;lIiC>ll tlclitil)n

Thi" offense is brief}, described as fl11Io\\s:

 1~ l ,S.c. 1752(a)( j ) 8.: (2)- Unlawrul                                     j':ntry on Restricted 13uildings or Grounds:
-Hll;.S.C. 510-+(e)(2)(D)                                      8.: (G)- Violent Lntry ancl Disorckrly Conduct on Capitlll                              (jrounds



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                      This warrant                 \\as     rccci\'cd on    Id./Ic·'    (

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MIME−Version:1.0
From:CM−ECFRetMail_OKED@oked.uscourts.gov
To:CM−ECFLive_OKED@oked.uscourts.gov
Bcc:
−−Case Participants: Clay A. Compton (barbara.elmore@usdoj.gov, caseview.ecf@usdoj.gov,
clay.compton@usdoj.gov, usaoke.criminal@usdoj.gov), Christopher J. Wilson
(caseview.ecf@usdoj.gov, chris.wilson@usdoj.gov, usaoke.criminal@usdoj.gov), Magistrate
Judge Kimberly E. West (allison_winkle@oked.uscourts.gov, amy_green@oked.uscourts.gov,
kurt_anderson@oked.uscourts.gov, staci_roberds@oked.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:1168085@oked.uscourts.gov
Subject:Activity in Case 6:21−mj−00007−KEW USA v. Erickson Arrest (Rule 5)
Content−Type: text/html

                                          U.S. District Court

                                     Eastern District of Oklahoma

Notice of Electronic Filing


The following transaction was entered on 1/22/2021 at 9:30 AM CST and filed on 1/22/2021

Case Name:           USA v. Erickson
Case Number:         6:21−mj−00007−KEW
Filer:               USA
Document Number:     No document attached
Docket Text:
ARREST on Charges Pending in USDC for the District of Columbia (Rule 5) by USA as to
Andrew C. Erickson. (pmb, Deputy Clerk)


6:21−mj−00007−KEW−1 Notice has been electronically mailed to:

Christopher J. Wilson &nbsp &nbsp Chris.Wilson@usdoj.gov, CaseView.ECF@usdoj.gov,
usaoke.criminal@usdoj.gov

Clay A. Compton &nbsp &nbsp clay.compton@usdoj.gov, barbara.elmore@usdoj.gov,
CaseView.ECF@usdoj.gov, usaoke.criminal@usdoj.gov

6:21−mj−00007−KEW−1 Notice has been delivered by other means to:




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AO -t-t:! (Rev. I Ill l) Arresl Warranl


                                             UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of Columbia

                     United States of America
                                v.                                     )
                                                                       )       CaseNo. 1:21-MJ-00131
                        Andrew C. Ericson
                                                                       }
                                                                       )
                                                                       )       EDOK Case No. 20-MJ-07-KEW
·- ·-· · ·- · · ·--------- -------·                                    )
                                Oefimdalll

                                                         ARREST WARRANT
To:          Any authorized law enforcement officer

        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
         f
rmmw ,, perso11 to be arrested) __                 --·----------- _ _A_!ldrew C. l:ricson    ·--------
                                   _
who is accused of an offense or violation based on the following document filed with the court:

:I Indictment                0 Superseding Indictment         0 Information      0 Superseding Information                 _M Complaint
:J Probation Violation Petition               u Super\'ised Release Violation Petition   0 Violation        Notice ;:I Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752(a)(l) & (2)- Unlawful Entry on Restricted Buildings or Grounds;
40 U.S.C. 5104(e)(2)(D) & (G)- Violent Entry and Disorderly Conduct on Capitol Grounds



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MIME−Version:1.0
From:CM−ECFRetMail_OKED@oked.uscourts.gov
To:CM−ECFLive_OKED@oked.uscourts.gov
Bcc:
−−Case Participants: Clay A. Compton (barbara.elmore@usdoj.gov, caseview.ecf@usdoj.gov,
clay.compton@usdoj.gov, usaoke.criminal@usdoj.gov), Christopher J. Wilson
(caseview.ecf@usdoj.gov, chris.wilson@usdoj.gov, usaoke.criminal@usdoj.gov), Magistrate
Judge Kimberly E. West (allison_winkle@oked.uscourts.gov, amy_green@oked.uscourts.gov,
kurt_anderson@oked.uscourts.gov, staci_roberds@oked.uscourts.gov)
−−Non Case Participants: OKED Probation − Presentence
(cm−ecf_mail_okep@okep.uscourts.gov), US Marshall (oked_usmnef@oked.uscourts.gov)
−−No Notice Sent:

Message−Id:1168090@oked.uscourts.gov
Subject:Activity in Case 6:21−mj−00007−KEW USA v. Erickson Order
Content−Type: text/html

                                           U.S. District Court

                                      Eastern District of Oklahoma

Notice of Electronic Filing


The following transaction was entered on 1/22/2021 at 9:37 AM CST and filed on 1/22/2021

Case Name:       USA v. Erickson
Case Number:     6:21−mj−00007−KEW
Filer:
Document Number: 2(No document attached)
Docket Text:
 MINUTE ORDER by Magistrate Judge Kimberly E. West setting video conference Rule 5
Initial Appearance for 1/25/2021 at 12:00 p.m. in Courtroom 3 before Magistrate Judge
Kimberly E. West as to Andrew C. Erickson. (pmb, Deputy Clerk)


6:21−mj−00007−KEW−1 Notice has been electronically mailed to:

Christopher J. Wilson     Chris.Wilson@usdoj.gov, CaseView.ECF@usdoj.gov, usaoke.criminal@usdoj.gov

Clay A. Compton clay.compton@usdoj.gov, CaseView.ECF@usdoj.gov, barbara.elmore@usdoj.gov,
usaoke.criminal@usdoj.gov

6:21−mj−00007−KEW−1 Notice has been delivered by other means to:




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                               UNITED STATES DISTRICT COURT
                                                             for the
                                       EASTERN DISTRICT OF OKLAHOMA

            UNITED STATES OF AMERICA,                           )
                                                                )      Case No.: 21-MJ-07-KEW
                                                Plaintiff,      )
                              v.                                )          Date: 01/25/2021
                                                                )
                  ANDREW C. ERICSON                             )         Time: 12:30 pm – 12:38 pm
                                              Defendant.        )

                                                      MINUTE SHEET
                                                   INITIAL APPEARANCE
                                                          (Rule 5)

U.S. Magistrate Judge Kimberly E. West           Allison Winkle, Deputy Clerk         FTR Courtroom: 3 - Room 432

Counsel for Plaintiff: Benjamin Gifford, AUSA
Counsel for Defendant: Neil D. Van Dalsem, AFPD
☒ Defendant gives oral consent to proceed by video conference

☒ Fin. Afdt / oral request for counsel     Obj by Gov’t : ☐yes         ☒ no ☒ Court appointed counsel

☒ Defendant acknowledged receipt of copy of       Complaint      from         USDC – District of Columbia
  (Case No. 1:21-MJ-131)
☒ Court advised defendant of constitutional rights under Rule 5.
☒ Court advised defendant of constitutional rights under Rule 20.

☐   Defendant waived Identity Hearing                                       ☐ Waiver executed and accepted by Court
☐   Defendant waived Preliminary Hearing
☐   Defendant requested Preliminary Hearing                                 ☐ Preliminary Hearing set
☒   Defendant requested to proceed to prosecuting district for preliminary hearing


☐ Government requested Detention
☐ Defendant waived detention hearing in this district and requested to be allowed to proceed to prosecuting district
   for further proceedings
☐ Defendant reserved issue of detention at this time
☐ Defendant agreed issue of bond is moot
☐ Defendant requested Detention Hearing                                    ☐ Detention Hearing set
☐ Defendant remanded to custody of U.S. Marshal for removal to the                       District of

☒ Defendant allowed to post bond in the amount of            $10,000 (unsecured)
   ☒ Conditions of Release:     See Order

Additional Minutes:

Defendant Ordered to appear by Zoom Conference on 1/29/2021 at 1:00 PM before Judge Harvey


☒ The sound recording for this hearing has been reviewed for completeness and correctness. The recording is a true and accurate
record of these proceedings: AW

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From:CM−ECFRetMail_OKED@oked.uscourts.gov
To:CM−ECFLive_OKED@oked.uscourts.gov
Bcc:
−−Case Participants: Neil D. Van Dalsem (neil_van_dalsem@fd.org, okn_ecf@fd.org), Clay A.
Compton (barbara.elmore@usdoj.gov, caseview.ecf@usdoj.gov, clay.compton@usdoj.gov,
usaoke.criminal@usdoj.gov), Christopher J. Wilson (caseview.ecf@usdoj.gov,
chris.wilson@usdoj.gov, sheryl.hanshaw@usdoj.gov, usaoke.criminal@usdoj.gov), Magistrate
Judge Kimberly E. West (allison_winkle@oked.uscourts.gov, amy_green@oked.uscourts.gov,
kurt_anderson@oked.uscourts.gov, staci_roberds@oked.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:1168889@oked.uscourts.gov
Subject:Activity in Case 6:21−mj−00007−KEW USA v. Ericson Motion for Appointment of
Counsel
Content−Type: text/html

                                           U.S. District Court

                                     Eastern District of Oklahoma

Notice of Electronic Filing


The following transaction was entered on 1/25/2021 at 2:51 PM CST and filed on 1/25/2021

Case Name:           USA v. Ericson
Case Number:         6:21−mj−00007−KEW
Filer:               Dft No. 1 − Andrew C. Ericson
Document Number:     4(No document attached)
Docket Text:
ORAL MOTION for Appointment of Counsel by Andrew C. Ericson. (adw, Deputy Clerk)


6:21−mj−00007−KEW−1 Notice has been electronically mailed to:

Christopher J. Wilson &nbsp &nbsp Chris.Wilson@usdoj.gov, CaseView.ECF@usdoj.gov,
sheryl.hanshaw@usdoj.gov, usaoke.criminal@usdoj.gov

Clay A. Compton &nbsp &nbsp clay.compton@usdoj.gov, barbara.elmore@usdoj.gov,
CaseView.ECF@usdoj.gov, usaoke.criminal@usdoj.gov

Neil D. Van Dalsem &nbsp &nbsp neil_van_dalsem@fd.org, okn_ecf@fd.org

6:21−mj−00007−KEW−1 Notice has been delivered by other means to:




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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail



                                       UNITED STATES DISTRICT COURT
                                                                           for the

                                                    EASTERN           District of       OKLAHOMA

                   United States of America                                    )
                              v.                                               )       Case No. 21-MJ-07-KEW
                                                                               )
                   ANDREW C. ERICSON                                           )       Charging District:
                              Defendant                                        )       Charging District’s Case No. 1:21-MJ-00131


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

       U.S. DISTRICT COURT DISTRICT OF COLUMBIA
Place: Before Judge Harvey                                                             Courtroom No.: 6 (By Zoom)
                                                                                       Date and Time:          1/29/2021 AT 1:00 pm

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:              1/21/2021
                                                                                                           Judge’s signature

                                                                                     KIMBERLY E. WEST, U.S. Magistrate Judge
                                                                                                        Printed name and title




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                             U.S. District Court
                  Eastern District of Oklahoma (Muskogee)
           CRIMINAL DOCKET FOR CASE #: 6:21−mj−00007−KEW−1

Case title: USA v. Ericson                               Date Filed: 01/22/2021

Assigned to: Magistrate Judge
Kimberly E. West

Defendant (1)
Andrew C. Ericson                  represented by Neil D. Van Dalsem
                                                  Federal Public Defender − Muskogee
                                                  627 W Broadway
                                                  Muskogee, OK 74401−6220
                                                  918−709−7019
                                                  Fax: 918−687−2392
                                                  Email: neil_van_dalsem@fd.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

Pending Counts                                   Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
18:1752(a)(1) & (2) − Unlawful
Entry on Restricted Buildings or
Grounds; 40:5104(e)(2)(D) & (G)
− Violent Entry and Disorderly
Conduct on Capitol Grounds




                                                                                  Oklahoma Eastern
  6:21-mj-00007-KEW   DocumentDocument
      Case 1:21-mj-00131-ZMF   10 Filed5in ED/OK   on 01/25/21
                                           Filed 01/26/21  PagePage
                                                                26 of 227
                                                                        of 27




Plaintiff
USA                                         represented by Christopher J. Wilson
                                                           US Attorney (OKED)
                                                           520 Denison Ave
                                                           Muskogee, OK 74401
                                                           918−684−5100
                                                           Fax: 918−684−5150
                                                           Email: Chris.Wilson@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Government Attorney

                                                            Clay A. Compton
                                                            US Attorney (OKED)
                                                            520 Denison Ave
                                                            Muskogee, OK 74401
                                                            918−684−5167
                                                            Fax: 918−684−5150
                                                            Email: clay.compton@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Government Attorney

 Date Filed   # Page Docket Text
 01/22/2021           ARREST on Charges Pending in USDC for the District of Columbia (Rule 5) by
                      USA as to Andrew C. Ericson. (pmb, Deputy Clerk) Modified on 1/22/2021
                      (pmb, Deputy Clerk). (Entered: 01/22/2021)
 01/22/2021   1       RULE 5 PAPERS from USDC for the District of Columbia as to Andrew C.
                      Ericson. (pmb, Deputy Clerk) Modified on 1/22/2021 (pmb, Deputy Clerk).
                      (Entered: 01/22/2021)
 01/22/2021   2       MINUTE ORDER by Magistrate Judge Kimberly E. West setting video
                      conference Rule 5 Initial Appearance for 1/25/2021 at 12:00 p.m. in Courtroom 3
                      before Magistrate Judge Kimberly E. West as to Andrew C. Ericson. (pmb,
                      Deputy Clerk) Modified on 1/22/2021 (pmb, Deputy Clerk). (Entered:
                      01/22/2021)
 01/25/2021   3       MINUTES of Proceedings held before Magistrate Judge Kimberly E. West: Rule
                      5 Initial Appearance held on 1/25/2021 as to Andrew C. Ericson. Defendant
                      released on $10,000 unsecured bond. (adw, Deputy Clerk) (Entered: 01/25/2021)
 01/25/2021   4       ORAL MOTION for Appointment of Counsel by Andrew C. Ericson. (adw,
                      Deputy Clerk) (Entered: 01/25/2021)
 01/25/2021   5       ORDER APPOINTING COUNSEL by Magistrate Judge Kimberly E. West:
                      granting 4 Oral Motion for Appointment of Counsel as to Andrew C. Ericson (1).
                      (Attachments: # 1 Financial Affidavit) (adw, Deputy Clerk) (Entered:
                      01/25/2021)
 01/25/2021   6       ORDER by Magistrate Judge Kimberly E. West directing defendant to answer


                                                                                   Oklahoma Eastern
     Case 1:21-mj-00131-ZMF
 6:21-mj-00007-KEW   DocumentDocument
                              10 Filed5in ED/OK
                                          Filed 01/26/21  PagePage
                                                  on 01/25/21  27 of 327
                                                                       of 27



                    and appear in district of prosecution as to Andrew C. Ericson. (adw, Deputy
                    Clerk) (Entered: 01/25/2021)
01/25/2021   7      APPEARANCE BOND approved by Magistrate Judge Kimberly E. West as to
                    Andrew C. Ericson. (adw, Deputy Clerk) (Entered: 01/25/2021)
01/25/2021   8      ORDER SETTING CONDITIONS OF RELEASE by Magistrate Judge
                    Kimberly E. West as to Andrew C. Ericson. (adw, Deputy Clerk) (Entered:
                    01/25/2021)
01/25/2021   9      WAIVER of Rule 5 Hearing approved by Magistrate Judge Kimberly E. West by
                    Andrew C. Ericson. (adw, Deputy Clerk) (Entered: 01/26/2021)




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